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1    BENJAMIN B. WAGNER
     United States Attorney
2    GRANT B. RABENN
     Assistant United States Attorney
3    2500 Tulare Street, Suite 4401
     Fresno, CA 93721
4    Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
5
     Attorneys for the
6      United States of America
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8                       IN THE UNITED STATES DISTRICT COURT

9                     FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          ) 1:13-CR-00136-AWI-BAM
                                        )
12                     Plaintiff,       ) PRELIMINARY ORDER OF
                                        ) FORFEITURE
13        v.                            )
                                        )
14   LOC HUU CHAU,                      )
                                        )
15                     Defendant.       )
                                        )
16                                      )
17       Based upon the plea agreements entered into between United

18   States of America and defendant Loc Huu Chau, it is hereby

19   ORDERED, ADJUDGED AND DECREED as follows:

20       1.    Pursuant to 31 U.S.C. § 5317, defendant Loc Huu Chau’s

21   interest in the following property shall be condemned and forfeited to

22   the United States of America, to be disposed of according to law:

23             a.    $147,900 in U.S. Currency seized from safe deposit box
                     located at Bank of America branch in Modesto,
24                   California, held in the name of Say Eng and Sdey Chim;

25             b.    $7,500 in U.S. Currency seized from an U.S. Express
                     Mail envelope en route from Lowell, Massachusetts to
26                   Modesto, California;

27             c.    Yugo 59/60 model semi-automatic firearm with serial
                     number K423900, and ammunition located inside magazine;
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1          d.    Norinco SKS model semi-automatic firearm with serial
                 number 013018-DB013018;
2
           e.    Savage Arms Mark 2 model semi-automatic firearm with
3                serial number 0461075;
4          f.    Ruger 10-22 model semi-automatic firearm with serial
                 number 24292833;
5
           g.    Winchester 68-22 model firearm with unknown serial
6                number;
7          h.    Norinco 90 model 12-gauge shotgun with serial number
                 0028157;
8
           i.    Sterling Arms CASSI model grease gun style firearm with
9                serial number 586960215SC2626;
10         j.    Phoenix Arms HP22 model firearm with serial number
                 4173214;
11
           k.    Smith & Wesson Air-weight 38 special model firearm with
12               serial number 27050, and ammunition located inside
                 magazine;
13
           l.    Smith & Wesson Air-weight 38 special model firearm with
14               serial number 27050, and ammunition located inside
                 magazine;
15
           m.    Taurus PT 247 pRO model firearm with serial number
16               NZA81494, and ammunition located inside magazine;
17         n.    Gabilondo Llama 9mm firearm with serial number 212778;
18         o.    Phoenix Arms HP22 model firearm with serial number
                 4097953, and ammunition located inside magazine;
19
           p.    Colt Automatic 22 model firearm with serial number
20               38829;
21         q.    Ruger Mark 3 model firearm with serial number 22712865;
22         r.    Springfield Armory xd 9 model firearm with serial
                 number US862231, and ammunition located inside
23               magazine;
24         s.    Para Ordinance C7-45LDA model firearm with serial
                 number CC1428, and ammunition located inside magazine.
25
           t.    Norinco 54-1 model firearm with serial number 5011651;
26
           u.    Smith & Wesson 38+P model firearm with serial number
27               5001502, and ammunition located inside magazine;
28         v.    Glock 22 model firearm with serial number GVN475, and
                 ammunition located inside magazine;
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                                         2        Preliminary Order of Forfeiture
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1               w.    FNMI 49 model firearm with serial number 517MM10580;
2               x.    Mach 10 Cobray model upper part with unknown serial
                      number;
3
                y.    Glock 21 pistol with obliterated serial number;
4
                z.    Remington 870 shotgun with serial number D693276M;
5
                aa.   Apple Desktop SN QP0370SVDNP;
6
                bb.   Apple Desktop SN W89133646X1;
7
                cc.   Dell Tower 300 SN4HWHZ61;
8
                dd.   HP Laptop SN CND8511SGO; and
9
                ee.   Canon Printer SN GFX80G1.
10

11       2.     The above-listed assets constitute property which

12   constitutes, is derived from proceeds traceable to, or are involved

13   in a violation of 18 U.S.C. § 371 and 31 U.S.C. § 5324(a)(3).

14       3.     Pursuant to Rule 32.2(b), the Attorney General (or a

15   designee) shall be authorized to seize the above-listed property.

16   The aforementioned property shall be seized and held by the Internal

17   Revenue Service - Criminal Investigations, in its secure custody and

18   control.

19       4.     a. Pursuant to 31 U.S.C. § 5317(c)(1)(B), incorporating 21

20   U.S.C. § 853(n), and Local Rule 171, the United States shall publish

21   notice of the order of forfeiture.         Notice of this Order and notice

22   of the Attorney General’s (or a designee’s) intent to dispose of the

23   property in such manner as the Attorney General may direct shall be

24   posted for at least 30 consecutive days on the official internet

25   government forfeiture site www.forfeiture.gov.          The United States may

26   also, to the extent practicable, provide direct written notice to any

27   person known to have alleged an interest in the property that is the

28   subject of the order of forfeiture as a substitute for published

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1    notice as to those persons so notified.

2                b. This notice shall state that any person, other than the

3    defendant, asserting a legal interest in the above-listed property,

4    must file a petition with the Court within sixty (60) days from the

5    first day of publication of the Notice of Forfeiture posted on the

6    official government forfeiture site, or within thirty (30) days from

7    receipt of direct written notice, whichever is earlier.

8          5.    If a petition is timely filed, upon adjudication of all

9    third-party interests, if any, this Court will enter a Final Order of

10   Forfeiture pursuant to 31 U.S.C. § 5317, in which all interests will

11   be addressed.

12
     IT IS SO ORDERED.
13

14   Dated: December 9, 2014
                                      SENIOR DISTRICT JUDGE
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                                             4        Preliminary Order of Forfeiture
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